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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

DAVID FELIMON CERDA                            )      No.
                                               )
      Plaintiff,                               )
                                               )
      vs.                                      )
                                               )
CHICAGO CUBS BASEBALL CLUB, LLC                )
                                               )
      Defendant.                               )      JURY TRIAL DEMANDED

                                    COMPLAINT

      NOW COMES the Plaintiff, David Felimon Cerda, by his attorney, and for

his Complaint states as follows:

                                     THE PARTIES

      1.     At the time complained of herein, plaintiff David Felimon Cerda

resided in Chicago, Illinois

      2.     The Chicago Cubs Baseball Club, LLC, (hereinafter the “Chicago

Cubs”), is a corporation registered in the State of Illinois and does business in

Chicago, Illinois.

                               JURISDICTION AND VENUE

      3.     This Court has subject matter jurisdiction over plaintiff's federal

claims pursuant to the Americans With Disabilities Act, 42 U.S.C. § 12101 et seq.

      4.     This Court has personal jurisdiction over the defendant as all actions

complained of herein occurred in Chicago, Illinois.

      5.     Venue is proper in this district because all the conduct complained of
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herein occurred in this district.

                                      THE FACTS

      6.     The Chicago Cubs field a team that plays baseball at Wrigley Field in

Chicago.

      7.     Plaintiff suffers from Duchenne Muscular Dystrophy and is confined to

a wheelchair.

      8.     Plaintiff is a Chicago Cubs fan and prior to 2014 attended games in a

wheelchair seating area in the right field bleachers and in a lower box wheelchair

seating area behind home plate.

      9.     Beginning in 2014, the Chicago Cubs began an extensive renovation of

Wrigley Field.

      10.    As part of the renovation of Wrigley Field, the Chicago Cubs

demolished the left and right field bleachers to the ground.

      11.    After the new construction of the right field bleachers, the right field

bleachers did not have a wheelchair seating area. After the reconstruction, the area

in the right field bleachers that at one time had a wheelchair seating area is now a

special ticketing area featuring a bar.

      12.    In 2017, plaintiff attended Cubs games at Wrigley Field and though he

would have liked to, he was unable to sit in the right field bleachers because there

are no wheelchair seats in the right field bleachers.

      13.    Before the new construction of the left field bleachers, Wrigley Field

did not have wheelchair seating in the left field bleachers. After the left field

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bleachers were rebuilt from the ground up, there are still no wheelchair seats in the

left field bleachers. After the reconstruction, the Chicago Cubs added a bar area to

the left field bleachers.

       14.    In 2017, plaintiff attended Cubs games at Wrigley Field and though he

would have liked to, he was unable to sit in the left field bleachers because there

are no wheelchair seats in the left field bleachers.

       15.    After 2014, the Chicago Cubs reconstructed the lower box seats,

including the lower box wheelchair seating area behind home plate.

       16.    After the reconstruction of the lower box seats, the row of wheelchair

seats behind home plate was moved back several rows farther from the field of play.

       17.    In 2017, the plaintiff attend a Cubs game and sat in the lower box

seats which are now farther away from the field of play. Plaintiff would like to enjoy

lower box seating closer to rather than farther away from the field of play.

       18.    In 2017, when sitting in wheelchair lower box seats, plaintiff was

unable to see the full field of play when patrons in front of him were standing.

       19.    As part of the renovation of Wrigley Field, the Cubs are currently

constructing a luxury club underneath the lower box seating area behind home

plate advertised as the American Airlines 1914 Club. When completed, 1914 Club

patrons will have access to lower box seats behind home plate, including front row

seats behind home plate.

       20.    Before 2012, Plaintiff attended baseball games at the Great American

Ball Park in Cincinnati, Ohio.

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      21.    The Great American Ball Park has a luxury club underneath the lower

box seating area behind home plate which gives patrons access to front row

wheelchair seating behind home plate.

      22.    Plaintiff has enjoyed sitting in front row wheelchair seats next to the

visitor’s dugout while at The Great American Ball Park.

      23.    Plaintiff would like to enjoy wheelchair seating in the front row at

Wrigley Field. The Chicago Cubs have not announced that front row wheelchair

seating will be available after the completion of the renovations of Wrigley Field.

                                       COUNT I

                           (American With Disabilities Act)

      24.    Plaintiff realleges and incorporates herein by reference the foregoing

paragraph as if set forth in full herein.

      25.    With regard to new construction and alterations, the Chicago Cubs

have a duty to comply with Title III of the American with Disabilities Act.

      26.    With regard to the new construction and alterations at Wrigley Field

after March 15, 2012, the Chicago Cubs have a duty to comply with the 2010 ADA

Standards for Accessible Design.

      27.    The ADA requires that wheelchair spaces be an integral part of the

seating plan at Wrigley Field.

      28.    The seating plan at Wrigley Field is required to provide wheelchair

spectators with choices of seating locations and view angles that are substantially

equivalent to, or better than, the choices of seating locations and viewing angles

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available to other spectators.

      29.    The ADA requires that wheelchair spaces be dispersed horizontally

around the field of play.

      30.    The ADA requires that wheelchair spaces be dispersed vertically.

      31.    Notwithstanding their duty to comply with the ADA, after March 15,

2012, the Chicago Cubs rebuilt and altered Wrigley Field in violation of the ADA.

      32.    After reconstruction which commenced in 2014, the right field

bleachers no longer had wheelchair accessible seating. The wheelchair seating that

existed before the construction was eliminated and replaced with a bar area.

      33.    Wheelchair seating in the right field bleachers may be accommodated

now without substantial alterations, or alterations at all, by designating part of the

area which is now reserved for special ticketing bar area a wheelchair seating area.

      34.    After reconstruction which commenced in 2014, the Chicago Cubs did

not add wheelchair seating to the left field bleachers. The Chicago Cubs did add a

bar area to the left field bleachers.

      35.    After reconstruction which was commenced after 2014, the Chicago

Cubs moved the lower box wheelchair seating behind home plate farther away from

home plate rather than maintaining or improving the view previously enjoyed by

the plaintiff and other wheelchair patrons.

      36.    After the reconstruction of the lower box wheelchair seats, the height

difference between the row of wheelchair seats and the row in front of the

wheelchair seats is not great enough for wheelchair patrons to see the field of play

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over patrons standing in front of them.

      37.    Since March 15, 2012, the Chicago Cubs have altered the lower box

seating area behind home plate and are currently building a luxury club

underneath the lower box seats behind home plate but have not provided for front

row wheelchair seating behind home plate.

      38.    Plaintiff has suffered damages because he has not and cannot enjoy

seating at Wrigley Field which complies with the ADA.

      WHEREFORE, plaintiff requests that the Chicago Cubs Baseball Club, LLC

be held in violation of the American With Disabilities Act and that the following

relief be ordered:

      A.     That the Chicago Cubs put into place wheelchair seating in the right

             field bleachers which complies with the ADA;

      B.     That the Chicago Cubs put into place wheelchair seating in the left

             field bleachers which complies with the ADA;

      C.     That the Chicago Cubs put into place wheelchair seating in the lower

             box seats which is equal to or better than the vertical wheelchair

             seating that existed prior to the alterations which were made after

             2014 and which otherwise complies with the ADA;

      D.     That the Chicago Cubs put into place front row wheelchair seating

             behind home plate;

      E.     That the Chicago Cubs pay the reasonable attorney’s fees, costs and

             expenses of this lawsuit;

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      F.    That the Court order such further relief as is appropriate.



                                       Respectfully submitted,


                                       s/David A. Cerda
                                       Attorney for the Plaintiff

Cerda Law Office
1624 West Division Street, Suite 209
Chicago, Illinois 60622
(312) 467-9100
dcerda@cerdalaw.com




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